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CURLEE wEBB,
Plaimiff,
VS' No. 02_2795-Ma/V

CORPORATE SECURITY, INC., ET AL.,
Defendants/Third-Party Plaintiffs,

vs.

RENEE AUSTILL,

Third-Party Defendant.

 

ORDER ALLOWING COUNSEL TO WITHDRAW

 

Before the court is the May 12, 2005 motion of Kelly S. Gooch, James R. Mulroy and the
law firm of Lewis Fisher Henderson Claxton & Mulroy, LLP, counsel for Defendants/Third-
Party Plaiutiffs, requesting that they be allowed to withdraw as counsel Good cause having been
shown, the motion is granted and Kelly S. Gooch, J ames R. Mulroy, and the law firm of Lewis
Fisher Henderson Claxton & Mulroy, LLP, counsel for DefendantS/Third-Party Plaintiffs are
allowed to withdraw.

it is so oRDERED this )3 H'day of May, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT IUDGE

 

this document entered on the docket sheet ln compliance

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This notice confirms a copy of the document docketed as number 147 in
case 2:02-CV-02795 was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

Robert F. Uhlmann

COCHRAN UHLMANN ABNEY DUCK & WRIGHT
150 Court Avenue

2nd Fl.

1\/1emphis7 TN 38103

William B. Ryan

DONATI LAW FIRM, LLP
1545 Union Ave.

1\/1emphis7 TN 3 8104

.1 ames R. Mulroy

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

Kelly S. Gooch

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

Donald A. Donati

DONATI LAW FIRM, LLP
1545 Union Ave.

1\/1emphis7 TN 3 8104

.1 ohn Ford Canale

DONATI LAW FIRM, LLP
1545 Union Ave.

1\/1emphis7 TN 3 8104

Stuart B. Breakstone
BREAKSTONE & ASSOCIATES
200 .1 efferson Ave.

Ste. #725

1\/1emphis7 TN 38103

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Honorable Samuel Mays
US DISTRICT COURT

